
      1
     Clifford Charles Galley, II, Petitioner  v.  The People of the State of Colorado. Respondent No. 24SC672Supreme Court of Colorado, En banc.January 13, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1529
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      PETITIONS FOR WRIT OF CERTIORARI
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    